AO 442 (Rev. 11/11) Arrest Warrant



                                            United States District Court
                                                                    for the
                                                                                                                FILED
                                                                                                           DISTPinX CO!IPT OF GUAM
                                                                District of Guam
                                                                                                                       JUN 28 2021
                      United States of America
                                 V,
                                                                                                             JEANNE (3. QUINATA
                                                                              Case No. MJ 21-00128             CLERK 0F COURT
                 NICHOLAS WAYNE MOORE




                             Defendant


                                                       ARREST WARRANT

To:       Any authorized law enforcement officer

        YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) MICHni A.S WAYNF MOORF                                                           '
who is accused of an offense or violation based on the following document filed with the court:

□ Indictment               □ Superseding Indictment         □ Information        □ Superseding Information              1^ Complaint
□ Probation Violation Petition               □ Supervised Release Violation Petition        O Violation Notice          □ Order of the Court

This offense is briefly described as follows:
  Unlawful Flight To Avoid Prosecution, in violation of Title 18, United States Code, Section 1073




Date: ^
                                                                                         / Issuingofficer's signature
                                                                                        /



City and state:          Hagatna, Guam                                        FRANCES TYDINGCO-GATEWOOD, Chief Judge
                                                                                               Printed name and title



                                                                    Return


          This warrant was received on (date)               K>'i\        , and the person was arrested on (date)                o<». "let I
dX (city and state)                  C.Vy        ,



Date:
                                                                                       ^.■■■■■'Tfffe^jig^jficer s signature


                                                                                               Printed name and title




                                                          ORIGINAL
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                     This second page contains personal identifiers provided for law-enforcement use only
                     and therefore should not be filed in court with the executed warrant unless under seal.


                                                    (Notfor Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:

Prior addresses to which defendant/offender may still have ties:


Last known employment:               _
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                               Weight:
Sex:                                                                  Race:
Hair:                                                                 Eyes:
Scars, tattoos, other distinguishing marks:




History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number)'.


FBI number:

Complete description of auto:


Investigative agency and address:


Name and telephone numbers(office and cell) of pretrial services or probation officer (ifapplicable):



Date of last contact with pretrial services or probation officer (ifapplicable):




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